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                                                    02/18/21 Page 1 ofID:
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                United States Court of Appeals
                                For the First Circuit
                               ____________________________
 No. 21-1003

          MASSACHUSETTS FAIR HOUSING CENTER; HOUSING WORKS, INC.

                                      Plaintiffs - Appellees

                                                v.

   UNITED STATES DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT; BEN
         CARSON, Secretary, US Department of Housing and Urban Development

                                   Defendants - Appellants
                               ____________________________

                                          JUDGMENT

                                   Entered: February 18, 2021
                                  Pursuant to 1st Cir. R. 27.0(d)

        Upon consideration of the parties' joint motion, it is hereby ordered that this appeal be
 voluntarily dismissed pursuant to Fed. R. App. P. 42(b) with each party to bear its own costs.

        Mandate to issue forthwith.


                                             By the Court:

                                             Maria R. Hamilton, Clerk



 cc:
 Joshua M. Daniels
 Stuart T. Rossman
 Scott P. Lewis
 Mina S. Makarious
 Oren McCleary Sellstrom
 Lauren A. Sampson
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 Donald Campbell Lockhart
 Charles W. Scarborough
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